                            UNITED STATES DISTRICT COURT                                    ぶ鍮         .c

                        WESTERN DISTRICT OF NORTH CAROLINA                                  MAY‑220i4
                                 ASHEVILLE DIVISION
                                                                                       u・
                                                                                            ヽ躙    絆
                                     DOCKET NO.1:13CR25

UNITED STATES OF ANIIERICA,

                       Plainti地
                                                             CONSENT ORDER AND
               V.                                         JUDGMENT OF FORFEITU駆
2)CRISTIAN NEVAttZ BELTRAN,

                       Defendant.


        WHEREAS, the defendant, CzuSTIAN NEVAREZ BELTRAN, has voluntarily pleaded
guilty pursuant to Federal Rule of Criminal Procedure 1 I to one or more criminal offenses under
which forfeiture may be ordered;

        WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 21 U.S.C. S 853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject
to forfeiture pursuant to 21 U.S.C. S 853, 18 U.S.C. S 924(d), and/or 28 U.S.C. g 2461(c),
provided, however, that such forfeiture is subject to any and all third party claims and interests,
pending final adjudication herein;

        WHEREAS, the defendant herein waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

        WHEREAS, pursuant to Federal Rules of Criminal Procedure 32.2(b)(l) & (c)(2), the
Court finds that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest in the
property;

        WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives all
right to do so. If any administrative forfeiture or civil forfeiture proceeding conceming any of the




     Case 1:13-cr-00025-MR-DLH            Document 84        Filed 05/02/14      Page 1 of 3
property described below has previously been stayed, the defendant hereby consents to a lifting of
the stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        The following property is forfeited to the United States:

        One Raven Arms, Model MP-25, .25 caliber semi-automatic pistol with serial
        number 1217930 and ammunition.

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

         If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21U.S.C. g 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

        As to any firearms and/or ammunition listed above and/or in the charging instrument,
defendant consents to destruction by federal, state, or local law enforcement authorities upon such
legal process as they, in their sole discretion, deem to be legally sufficient, and waives any and all
right to further notice of such process or such destruction.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

        Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, upon entry of this
Order of Forfeiture, the United States Attorney's Office is authorized to conduct any discovery
needed to identifu, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Rule 45 of the Federal
Rules of Civil Procedure.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2). If no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32-2(c)(2), and the United States shall have clear title to the property, and shall dispose of the
property according to law. Pursuant to Rule 32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant upon filing.




                                                   2



     Case 1:13-cr-00025-MR-DLH              Document 84        Filed 05/02/14       Page 2 of 3
SO AGREED:



    MAS M KENT
Assistant United States Attomey




CRISTIAN BEL
Defendant




Attomev for Defendant




      SttnCd thS mc型 day of丼                 ,20И




                                  United States Magistrate Judge
                                  Westem District of North Carolina




    Case 1:13-cr-00025-MR-DLH        Document 84      Filed 05/02/14   Page 3 of 3
